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Attorneys for Jeffery Dean Black


                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



    JEFFERY DEAN BLACK,                     Case No. 5:17-cv-06734-LHK

                   Plaintiff,
           vs.                              DECLARATION OF MIKE
                                            RODENBAUGH IN SUPPORT OF
    IRVING MATERIALS, INC.,                 JEFFERY DEAN BLACK’S
                                            MOTION FOR ATTORNEYS’ FEES
                 Defendant.
    ______________________________

    IRVING MATERIALS, INC.,

                   Counter-Claimant,
           vs.

    JEFFERY DEAN BLACK,

                   Counter-Defendant.




DECL. OF RODENBAUGH ISO
BLACK’S MOTION FOR ATTORNEY’S FEES      1         Case No. 5:17-cv-06734-LHK
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       I, Mike Rodenbaugh, under penalty of perjury under the laws of the United States, hereby

declare pursuant to 28 U.S.C. § 1746 as follows:

    1. I am counsel to Plaintiff and Counter-Defendant Jeffery Dean Black, (“Black”) in this

action.

    2. I am submitting this declaration in support of Black’s motion for attorneys’ fees filed

concurrently herewith.

    3. Pursuant to L.R. 54-5(b)(1), I emailed opposing counsel (Ms. O’Brien and Ms.

Wirtschafter) on Friday, Aug. 16, indicating Mr. Black’s intent to file this motion and requesting

to meet and confer per this rule. Having received no response, I followed up via a second email

on Wednesday, Aug. 21. That evening, I received a response beginning “​We do not believe that

either the facts or the law support your contention that you are entitled to seek attorneys’ fees in this

lawsuit.”​ Therefore, no live conference was held, because the parties do not agree to the

substance of the motion and a live conference would not change that.

    4. Pursuant to L.R. 54-5(b)(2), I have reviewed the firm’s time entries and billing records in

this matter, which total $480,843 in hourly billings. This number is based on a total of 1143

attorney hours worked by attorneys at Rodenbaugh Law since their engagement with this lawsuit

in January. 2018, then sixteen months of solid litigation up to and including trial in June 2019,

research re post-trial motions and preparation of this motion and bill of costs. This breaks down

to 620 hours by Mike Rodenbaugh, 377 hours by Marie Richmond, and 146 hours by Ivan

Blumberg.

    5. The work performed by Mr. Rodenbaugh and Ms. Richmond included shared handling of

some 200 docket entries in the case to date, through a three day jury trial in June. Our work

included initial case intake and analysis, amended complaint, answer to counterclaim,



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disclosures, case management work, mediation with Shirish Gupta, document discovery, written

discovery requests and responses, discovery motion practice, depositions of Mr. Black and three

Irving witnesses, expert witness report and deposition, motion for summary judgment, opposition

to Irving motion for summary judgment, two settlement conferences with Judge Cousins, pretrial

disclosures, motions in limine and opposition to Irving’s motions in limine, opposition to Irving

motion re jury trial, opposition to Irving motion to seal, pretrial conference, jury instructions and

verdict form, voir dire, trial exhibits, trial slides, opening and closing arguments, examination of

Mr. Black and Dr. Wright, cross-examination of three Irving witnesses, jury verdict, review of

court findings, research re post-trial motions, and preparation of this motion for fees and bill of

costs. The work performed by Mr. Blumberg was generally legal research, document review,

drafting of discovery requests, motions and the mediation brief, and trial support.

   6. Additional billings may yet be incurred with respect to post-judgment motions and/or any

appeal, and should also be recoverable.

   7. Pursuant to L.R. 54-5(b)(3), I am a trademark attorney with 24 years of experience

litigating and overseeing litigation in this District. My billing rate is $525 per hour. Marie

Richmond is a trademark attorney with 6 years of experience working with my firm. Her billing

rate is $325 per hour. Ivan Blumberg is an attorney with 4 years of experience, two of them with

my firm. His billing rate is $225 per hour. I am acquainted with the billing rates of other

boutique IP law firms in this area, and understand that our rates are extremely competitive. They

are certainly far lower than rates charged by large law firms like Reed Smith.

   8. Detailed Rodenbaugh Law billing records can be produced to the court ​in camera​ if so

requested.




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DATED: August 23, 2019                   Respectfully submitted,

                                         _/s/ ​Mike Rodenbaugh
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